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Exhibit 4
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id, WESTMINSTER HALL,
‘WESTMINSTER ROAD,
FOXROCK, DUBLIN 18

IRELAND.

phone: 00 353 1 289 6419

fax: 00 353 1 289 1262 ab Fool 20049
etal: dhonnar@indigo.ie _

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